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                EXHIBIT 8
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1                                   I N D E X

2       VIDEO-RECORDED DEPOSITION OF ANDREA BARTZ, INDIVIDUALLY,

3       AND AS A 30(b)(6) WITNESS FOR ANDREA BARTZ, INC.

4       FRIDAY, MARCH 7, 2025

5       VOLUME I

6                                                                         PAGE

7       MORNING SESSION                                                     10

8       AFTERNOON SESSION                                                  111

9       EXAMINATION OF ANDREA BARTZ AS AN INDIVIDUAL

10                  BY MR. FARRIS                                           13

11                  (Pages 1 through 231)

12      EXAMINATION OF ANDREA BARTZ AS A 30(b)(6)

13      WITNESS FOR ANDREA BARTZ, INC.

14                  BY MR. FARRIS                                          232

15                  (Pages 232 through 252)

16                                  ---oOo---

17                              E X H I B I T S

18              DEPOSITION EXHIBITS MARKED FOR IDENTIFICATION

19            [* Document designated "HIGHLY CONFIDENTIAL."]

20                 [** Document designated "CONFIDENTIAL"]

21                                  ---oOo---

22      EXHIBIT NO.      DESCRIPTION                                      PAGE

23      Exhibit 47       Multipage excerpt from the                         68

                         LinkedIn page for Andrea

24                       Bartz (No Bates numbers)

25      / / / / /

                                                                       Page 2

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1                   Anne Shaver, Lieff Cabraser, Heimann &                    09:10:01

2       Bernstein, representing Plaintiff and the proposed                    09:10:04

3       class.                                                                09:10:06

4                   THE VIDEOGRAPHER:     Thank you.                          09:10:08

5                   Counsel on the Zoom have been noted for                   09:10:08

6       the record.                                                           09:10:11

7                   Will the court reporter please introduce                  09:10:11

8       herself and administer the oath to the witness?                       09:10:12

9                   And then counsel may proceed.                             09:10:17

10                  THE REPORTER:     Pursuant to the                         09:10:18

11      requirements of AB 3252, I am stating on the record                   09:10:18

12      that my name is Jane Grossman, and I am a California                  09:10:18

13      Licensed Stenographic Reporter.         My CSR number is              09:10:18

14      5225.                                                                 09:10:18

15                  I will now swear the witness in.                          09:10:18

16                                  ---oOo---                                 09:10:18

17                          ANDREA MARIE BARTZ,                               09:10:18

18                      called as a witness herein,                           09:10:18

19         having been first duly sworn by the Certified                      09:10:18

20         Shorthand Reporter, was thereupon examined and                     09:10:18

21               testified as hereinafter set forth.                          09:10:18

22                                  ---oOo---                                 09:10:18

23                  THE REPORTER:     Please begin.                           09:10:18

24                                  ---oOo---                                 09:10:18

25      / / / / /                                                             09:10:18

                                                                            Page 12

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1                 [Note:     The following is the deposition of             09:10:18

2       Andrea Marie Bartz as an individual.]                               09:10:18

3                                 ---oOo---                                 09:10:18

4                         EXAMINATION BY MR. FARRIS                         09:10:19

5       BY MR. FARRIS:                                                      09:10:42

6            Q.   Good morning, Ms. Bartz.                                  09:10:44

7            A.   Good morning.                                             09:10:45

8            Q.   Could you start by stating and spelling                   09:10:46

9       your full name, including any middle name?                          09:10:48

10           A.   Yes.                                                      09:10:50

11                My name is Andrea Marie Bartz.       That's               09:10:51

12      A-n-d-r-e-a M-a-r-i-e B-a-r-t-z.                                    09:10:54

13           Q.   Thank you.                                                09:10:59

14                Have you been deposed before, Ms. Bartz?                  09:11:00

15           A.   No.     This is the first time.                           09:11:02

16           Q.   Okay.     Do you understand that a few                    09:11:04

17      moments ago you took an oath to tell the truth from                 09:11:05

18      the court reporter?                                                 09:11:08

19           A.   Yes.                                                      09:11:09

20           Q.   And do you understand that's the same sort                09:11:09

21      of oath you would take if you were testifying in                    09:11:11

22      front of a jury in a courtroom today?                               09:11:14

23           A.   Yes.                                                      09:11:16

24           Q.   Okay.     I'm just going to go over a few                 09:11:17

25      basic ground rules you probably already heard from                  09:11:19

                                                                          Page 13

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